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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

NETLIST, INC.                             §
                                          §
v.                                        §
                                          §    CIVIL ACTION NO. 2:22-CV-00293-JRG
SAMSUNG ELECTRONICS CO., LTD.,            §
SAMSUNG ELECTRONICS AMERICA,              §
INC., SAMSUNG SEMICONDUCTOR,              §
INC.

                    MINUTES FOR JURY TRIAL DAY NO. 2
            HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               November 13, 2024

OPEN: 08:38 AM                                                  ADJOURN: 05:58 PM

ATTORNEYS FOR PLAINTIFF:                      See attached

ATTORNEYS FOR DEFENDANTS:                     See attached

LAW CLERKS:                                   Brendan McLaughlin
                                              Danielle Zapata
                                              Amy Wann

COURT REPORTER:                               Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                             Andrea Brunson, CP

    TIME                                 MINUTE ENTRY
 08:38 AM   Court opened.
 08:38 AM   Exhibits used prior day read into the record.
 08:40 AM   Court addressed issue raised during morning chambers meeting with counsel and
            made rulings as set forth in the record.
 08:45 AM   Jury entered the courtroom.
 08:46 AM   Continuation Plaintiff’s case-in-chief:
 08:46 AM   Ms. Truelove introduced the video designation of Mr. Hyun-Ki Ji.
 08:50 AM   Video designation of Mr. Hyun-Ki Ji concluded.
 08:50 AM   Ms. Truelove introduced the video designation of Mr. Indong Kim.
 08:53 AM   Video designation of Mr. Indong Kim concluded.
 08:53 AM   Ms. Truelove introduced the video designation of Mr. Jung Bae Lee.
 08:55 AM   Video designation of Mr. Jung Bae Lee concluded.
 08:55 AM   Ms. Truelove introduced the video designation of Mr. Ho-Jung Kim.
 08:58 AM   Video designation of Mr. Ho-Jung Kim concluded.
 08:58 AM   Ms. Truelove introduced the video designation of Mr. Garret Davey.
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   TIME                                 MINUTE ENTRY
08:59 AM   Courtroom sealed.
09:14 AM   Video designation of Mr. Garret Davey concluded.
09:14 AM   Courtroom unsealed.
09:14 AM   Ms. Truelove introduced the video designation of Mr. You-Keun Han.
09:23 AM   Video designation of Mr. You-Keun Han concluded.
09:23 AM   Ms. Truelove introduced the video designation of Mr. Seung-Mo Jung.
09:29 AM   Bench conference.
09:30 AM   Bench conference concluded.
09:30 AM   Continuation video designation of Mr. Seung-Mo Jung.
09:38 AM   Video designation of Mr. Seung-Mo Jung concluded.
09:38 AM   Witness sworn.
09:39 AM   Direct examination of Dr. William Mangione-Smith by Mr. Rowles.
09:48 AM   Bench conference.
09:49 AM   Bench conference concluded.
09:49 AM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
10:00 AM   Bench conference.
10:02 AM   Bench conference concluded.
10:02 AM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
10:20 AM   Jury recessed for break.
10:20 AM   Recess.
10:36 AM   Court reconvened.
10:36 AM   Jury returned to courtroom.
10:37 AM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
11:00 AM   Bench conference.
11:06 AM   Bench conference concluded.
11:07 AM   Jury retired to jury room.
11:07 AM   Court addressed issue re: demonstrative slides outside presence of the Jury.
11:12 AM   Jury returned to courtroom.
11:12 AM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
11:33 AM   Bench conference.
11:35 AM   Bench conference concluded.
11:35 AM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
11:58 AM   Jury recessed for lunch break.
11:58 AM   Recess.
01:01 PM   Court reconvened.
01:01 PM   Jury returned to courtroom.
01:02 PM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
01:40 PM   Courtroom sealed.
01:41 PM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
01:46 PM   Courtroom unsealed.
01:46 PM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
02:20 PM   Bench conference.
02:21 PM   Bench conference concluded.
02:21 PM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
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   TIME                                 MINUTE ENTRY
02:42 PM   Courtroom sealed.
02:43 PM   Continuation direct examination of Dr. William Mangione-Smith by Mr. Rowles.
02:46 PM   Courtroom unsealed.
02:46 PM   Bench conference.
02:48 PM   Bench conference concluded.
02:48 PM   Jury recessed for break.
02:49 PM   Recess.
03:22 PM   Court reconvened.
03:22 PM   Bench conference.
03:26 PM   Bench conference concluded.
03:26 PM   Jury returned to courtroom.
03:27 PM   Cross examination of Dr. William Mangione-Smith by Mr. Cordell.
03:45 PM   Bench conference.
03:46 PM   Bench conference concluded.
03:46 PM   Continuation cross examination of Dr. William Mangione-Smith by Mr. Cordell.
03:58 PM   Bench conference.
03:58 PM   Bench conference concluded.
03:58 PM   Continuation cross examination of Dr. William Mangione-Smith by Mr. Cordell.
04:13 PM   Courtroom sealed.
04:14 PM   Continuation cross examination of Dr. William Mangione-Smith by Mr. Cordell.
04:17 PM   Courtroom unsealed.
04:18 PM   Continuation cross examination of Dr. William Mangione-Smith by Mr. Cordell.
04:30 PM   Bench conference.
04:31 PM   Bench conference concluded.
04:31 PM   Continuation cross examination of Dr. William Mangione-Smith by Mr. Cordell.
04:58 PM   Bench conference.
05:02 PM   Bench conference concluded.
05:02 PM   Continuation cross examination of Dr. William Mangione-Smith by Mr. Cordell.
05:04 PM   Bench conference.
05:06 PM   Bench conference concluded.
05:07 PM   Continuation cross examination of Dr. William Mangione-Smith by Mr. Cordell.
05:09 PM   Redirect examination of Dr. William Mangione-Smith by Mr. Rowles.
05:27 PM   Bench conference.
05:29 PM   Bench conference concluded.
05:29 PM   Continuation redirect examination of Dr. William Mangione-Smith by Mr. Rowles.
05:37 PM   Recross examination of Dr. William Mangione-Smith by Mr. Cordell.
05:41 PM   Additional redirect examination of Dr. William Mangione-Smith by Mr. Rowles.
05:42 PM   Completion of testimony of Dr. William Mangione-Smith.
05:42 PM   Ms. Truelove introduced the video designation of Mr. Dongjun Choi.
05:44 PM   Video designation of Mr. Dongjun Choi concluded.
05:44 PM   Ms. Truelove introduced the video designation of Mr. Anson Tsui
05:46 PM   Video designation of Mr. Anson Tsui concluded.
05:46 PM   Ms. Truelove introduced the video designation of Mr. Junseon Yoon.
05:48 PM   Courtroom sealed.
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   TIME                                     MINUTE ENTRY
05:49 PM   Continuation video designation of Mr. Junseon Yoon.
05:54 PM   Video designation of Mr. Junseon Yoon concluded.
05:54 PM   Courtroom unsealed.
05:54 PM   Ms. Truelove introduced the video designation of Mr. Jung-Mo Yang.
05:56 PM   Video designation of Mr. Jung-Mo Yang concluded.
05:56 PM   Court provided instructions to the Jury.
05:57 PM   Jury recessed for the day until 8:30 AM tomorrow morning.
05:58 PM   Court encouraged the parties to continue with meet and confer efforts. Court will
           be available by 7:30 AM tomorrow morning to take up unresolved disputes.
05:58 PM   Court adjourned.
